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 www.dea.gov                                                                               Washington, D.C. 20537

            MCKESSON CORPORATION                                                           December 27, 2007
            OBA MCKESSON DRUG CO.
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            III11111I III, 1 I11 I11 I I I II Il I, 11 II 111 II111 II 1III I II, I      In reference to registration
                                                                                               # PM0020850
 Dear Registrant:
         This letter is being sent to every entity in the United States registered with the Drug
 Enforcement Administration (DEA) to manufacture or distribute controlled substances. The purpose
 of this letter is to reiterate the responsibilities of controlled substance manufacturers and distributors
 to inform DEA of suspicious orders in accordance with 21 CFR 1301.74(b).

        In addition to, and not in lieu of, the general requirement under 21 USC 823, that
 manufacturers and distributors maintain effective controls against diversion, DEA regulations require
 all manufacturers and distributors to report suspicious orders of controlled substances. Title 21 CFR
 1301.74(b), specifically requires that a registrant "design and operate a system to disclose to the
 registrant suspicious orders of controlled substances." The regulation clearly indicates that it is the
 sole responsibility of the registrant to design and operate such a system. Accordingly, DEA does not
 approve or otherwise endorse any specific system for reporting suspicious orders. Past
 communications with DEA, whether implicit or explicit , that could be construed as approval of a
 particular system for reporting suspicious orders, should no longer be taken to mean that DEA
 approves a specific system.

         The regulation also requires that the registrant inform the local DEA Division Office of
  suspicious orders when discovered by the registrant. Filing a monthly report of completed
· transactions (e.g ., "excessive purchase report" or "high unit purchases") does not meet the regulatory
  requirement to report suspicious orders. Reg istrants are rem inded that their responsibility does not
  end merely with the filing of a suspicious order report. Registrants must conduct an independent
  analysis of suspicious orders prior to completing a sale to determine whether the controlled
  substances are likely to be diverted from legitimate channels. Reporting an order as suspicious will
  not absolve the registrant of responsibility if the registrant knew, or should have known, that the
  controlled substances were being diverted.

         The regulation specifically states that suspicious orders include orders of an unusual size,
 orders deviating substantially from a normal pattern, and orders of an unusual frequency. These
 criteria are disjunctive and are not all inclusive. For example, if an order deviates substantially from a
 normal pattern, the size of the order does not matter and the order should be reported as suspicious.
 Likewise, a registrant need not wait for a "normal pattern" to develop over time before determining
 whether a particular order is suspicious. The size of an order alone, whether or not it deviates from a
 normal pattern, is enough to trigger the registrant's responsibility to report the order as suspicious.
 The determination of whether an order is suspicious depends not only on the ordering patterns of the
 particular customer, but also on the patterns of the registrant's customer base and the atterns
 throughout the relevant segment of the regulated industry.                               .,._ _17-MDL-2804
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       Registrants that rely on rigid formulas to define whether an order is suspicious may be failing
to detect suspicious orders. For example, a system that identifies orders as suspicious only if the
total amount of a controlled substance ordered during one month exceeds the amount ordered the
previous month by a certain percentage or more is insufficient. This system fails to identify orders
placed by a pharmacy if the pharmacy placed unusually large orders from the beginning of its
relationship with the distributor. Also, this system would not identify orders as suspicious if the order
were solely for one highly abused controlled substance if the orders never grew substantially.
Nevertheless, ordering one highly abused controlled substance and little or nothing else deviates
from the normal pattern of what pharmacies generally order.

       When reporting an order as suspicious, registrants must be clear in their communications with
DEA that the registrant is actually characterizing an order as suspicious. Daily, weekly, or monthly
reports submitted by a registrant indicating "excessive purchases" do not comply with the
requirement to report suspicious orders, even if the registrant calls such reports "suspicious order
reports."

       Lastly, registrants that routinely report suspicious orders, yet fill these orders without first
determining that order is not being diverted into other than legitimate medical, scientific, and industrial
channels, may be failing to maintain effective controls against diversion. Failure to maintain effective
controls against diversion is inconsistent with the public interest as that term is used in 21 USC 823
and 824, and may result in the revocation of the registrant's DEA Certificate of Registration.

       For additional information regarding your obligation to report suspicious orders pursuant to 21
CFR 1301.74(b), I refer you to the recent final order issued by the Deputy Administrator, DEA, in the
matter of Southwood Pharmaceuticals Inc., 72 FR 36487 (2007). In addition to discussing the
obligation to report suspicious orders when discovered by the registrant and some criteria to use
when determining whether an order is suspicious, the final order also specifically discusses your
obligation to maintain effective controls against the diversion of controlled substances.


                                                               Sincerely,




                                                                 ph T. Rannazzisi
                                                            Deputy Assistant Administrator
                                                            Office of Diversion Control




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